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                                 UNITED STATES DISTRICT COURT
                                     DISTRICT OF COLUMBIA


QUINN EMANUEL URQUHART
& SULLIVAN, LLP,

Plaintiff,

v.                                      CASE NO: 1:19-cv-01331-CJN

ADELA PATRICIA ROSENTHAL- HIDALGO,
BUS-COMM, INC., CABLE COLOR, S.A. DE C.V.,
CARLOS JOSE ROSENTHAL-HIDALGO,
CESAR AUGUSTO ROSENTHAL-HIDALGO,
CREDIFLASH, LLC, FONDO DE INVERSIONES, S.A.,
PRESTADITO DE COSTA RICA, S.A.,

Defendants.

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 AMENDED DEFENDANTS’ MOTION TO STRIKE AFFIDAVIT FOR DEFAULT OR
IN THE ALTERNATIVE MOTION OF EXTENSION OF TIME TO FILE A RESPONSE
                       TO THE COMPLAINT

         Defendants, ADELA PATRICIA ROSENTHAL-HIDALGO, CABLE COLOR, S.A. DE

C.V., CARLOS JOSE ROSENTHAL-HIDALGO, CESAR AUGUSTO ROSENTHAL-

HIDALGO, FONDO DE INVERSIONES, S.A. and PRESTADITO DE COSTA RICA, S.A..,

(hereinafter referred to as the “Defendants”) by and through his undersigned counsel, hereby

files this Motion to Strike Plaintiff’s Motion for Default or in the Alternative File a Response to

the Complaint and states as follows:

          1.   That Plaintiff was last attempting to serve internationally by mail and or by email

upon Defendants, ADELA PATRICIA ROSENTHAL-HIDALGO, CABLE COLOR, S.A. DE

C.V., CARLOS JOSE ROSENTHAL-HIDALGO, CESAR AUGUSTO ROSENTHAL-

HIDALGO, FONDO DE INVERSIONES, S.A. and PRESTADITO DE COSTA RICA, S.A..,
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via the clerk.

         2.      That no return of service was ever filed in this case by counsel for Plaintiff with

regard to this international service attempts on any of the Defendants to which counsel for

Defendants could know when a response to the served complaints could be due, if at all.

Defendants were not served, as the mail receipts for each defendant shows that a Guard/Security

Station signed for Fed Ex for each Defendant, but these were never served to Defendants. (the

unknown guard was served, but the defendants were not). Acceptance by the Guard under this

method is not valid service, nor has Plaintiff filed a return of service with this court. The

International mail rule on service has not been complied with by Plaintiff. Rule Fed.Civ.Proc.

Rule 4(f)(2)(C)(ii). Thus the time to respond to the complaint does not start until the Defendants

are properly served pursuant to this Court’s order of July 24, 2020, where it is specifically

outlined that the service by mail has to have a receipt showing service to the appropriate

defendant.(See Exhibit A Attached identifying Plaintiff’s Exhibit G, Docket Entry 48-7).


        3.        For these reasons, a default should not be entered in this case and in the

alternative counsel for Defendants should be permitted to respond to the service issues and/or

complaint once Plaintiff has confirmed service was executed internationally as attempted. .


        WHEREFORE, the Defendants ADELA PATRICIA ROSENTHAL-HIDALGO, CABLE

COLOR, S.A. DE C.V., CARLOS JOSE ROSENTHAL-HIDALGO, CESAR AUGUSTO

ROSENTHAL-HIDALGO, FONDO DE INVERSIONES, S.A. and PRESTADITO DE COSTA

RICA, S.A.. request this Honorable Court deny Plaintiff’s Motion for Default and grant

Defendants an extension of time to respond to the service and/or complaint if this Court

is satisfied Plaintiff has filed sufficient filings to demonstrate a return of service as executed
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upon any of the Defendants. In Alternative Defendants request ten (10) additional days to

respond to the complaint.

                       LCVR Duty To Confer - Certification -Rule 7(m)

       Undersigned counsel certifies that he conferred with Opposite Counsel on September 23,

2020. Opposite Counsel opposes the motion and will be filing a response.


                              CERTIFICATION OF SERVICE

The undersigned certifies that a true and correct copy of this MOTION TO STRIKE MOTION

FOR DEFAULT OR IN THE ALTERNATIVE MOTION OF EXTENSION OF TIME TO FILE

A RESPONSE TO THE COMPLAINT have been furnished via ECF to all counsel of record on

September 23, 2020.

                                                           /s/ David S. Harris____
